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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ) CRIMINAL NO. 08-057-7 (TNM)
)
v. )
FILED
MARIO RAMIREZ TREVINO, )
also known as “Mario Pelon” ) FEB 05 2019
d “X20” .
an Clerk, Us. District and
Defendant. ) ambiente
PLEA AGREEMENT

The United States of America, through the Narcotic and Dangerous Drug Section of the
Criminal Division, United States Department of Justice (hereinafter referred to as the “United
States” or the “Government”’) and Mario Ramirez Trevino (hereinafter referred to as the
“Defendant”) enter into the following agreement (“Plea Agreement”):

Defendant’s Obligations, Acknowledgments, Waivers

ks Charges. The Defendant knowingly and voluntarily agrees to plead guilty to
Count One of the Indictment, which charges the Defendant with knowingly and intentionally
conspiring with others known and unknown, to distribute five kilograms or more of a mixture or
substance containing a detectable amount of cocaine, and one thousand kilograms or more of a
mixture and substance containing a detectable marijuana, intending and knowing that such
substances would be unlawfully imported into the United States, in violation of Title 21, United
States Code, Sections 959, 960, 963 and Title 18, United States Code, Section 2: At sentencing,
the Government will dismiss Counts Two and Three of the Indictment.

The Defendant acknowledges and will reaffirm at the time of the plea of guilty the truth
of the facts set forth in the Statement of Facts signed by him, which is attached to this Plea
Agreement and incorporated herein.

2. Potential penalties, assessments, and restitution. The Defendant understands
that the crime to which the Defendant is pleading guilty carries a statutory maximum term of life
imprisonment, a fine not to exceed $10,000,000, and a period of supervised release of at least
five (5) years. The Defendant understands that the statutory mandatory minimum sentence that
the Court must impose for a violation of Title 21, United States Code, Sections 959, 960, and
963 is ten (10) years imprisonment, followed by a five (5) year period of supervised release. The
Defendant also understands that he will not be able to withdraw his guilty plea if he believes the
sentence imposed by the Court is too harsh.
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In addition, the Defendant agrees to pay a special assessment of $100 per felony
conviction to the Clerk of the United States District Court before the date of sentencing, pursuant
to Title 18, United States Code, Section 3013. The Defendant also understands that pursuant to
Title 18, United States Code, Section 3571 and Section 5E1.2 of the United States Sentencing
Guidelines Manual (“Sentencing Guidelines”), the Court may also impose a fine that is sufficient
to pay the federal Government the costs of any imprisonment, term of supervised release and
period of probation.

3, Sentencing Guidelines. The Defendant understands that he will be sentenced
according to Title 18, United States Code, Section 3553(a), upon consideration of the Sentencing
Guidelines, which will apply to determine the Defendant’s guideline range.

Although not binding on the Court or U.S. Probation, the parties agree that the following
Sentencing Guideline calculations, at minimum, apply in this case:

(a) the Defendant is accountable for importation and distribution of 90,000
kilograms or more of marijuana and 450 kilograms or more of cocaine and
that, pursuant to Section 2D1.1(c)(1) of the Sentencing Guidelines, the
base offense level without adjustments for the crime to which the
Defendant is pleading guilty is a base offense level of 38;

(b) the Defendant possessed a firearm in furtherance of his drug trafficking
activities, pursuant to Section 2D1.1(b)(1) of the Sentencing Guidelines,
increasing the offense level by 2 levels;

(c) the Defendant used violence, made a credible threat to use violence and
directed the use of violence, pursuant to Section 2D1.1(b)(2) of the
Sentencing Guidelines, increasing the offense level by 2 levels; and

(d) the Defendant was an organizer or leader of a criminal activity that
involved five or more participants or was otherwise extensive, pursuant to
Section 3B1.1(a) of the Sentencing Guidelines, increasing the offense
level by 4 levels;

Assuming the Defendant clearly demonstrates acceptance of responsibility to the
satisfaction of the Government, through his allocution and subsequent conduct following the
signing of this Plea Agreement prior to the imposition of sentence, the Government agrees that a
2-level reduction would be appropriate, pursuant to U.S.S.G. § 3E1.1(a). Ifthe Defendant has
accepted responsibility as described in the previous sentence, the Government agrees that an
additional 1-level reduction would be appropriate, pursuant to U.S.S.G.§ 3E1.1(b), because the
Defendant has assisted authorities by providing timely notice of his intention to enter a plea of
guilty, thereby permitting the Government to avoid preparing for trial and permitting the Court to
allocate its resources efficiently.

Moreover, the Defendant understands that pursuant to the Supreme Court’s decision in
United States v. Booker, 543 U.S. 220 (2005), the federal courts are not bound by the Sentencing
Guidelines, but must consult those Guidelines and take them into account when sentencing. The
Defendant understands further that this means the Court may impose a sentence that is either

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more severe or less severe than the advisory guideline range. The Defendant thus understands
and acknowledges that the Court has the authority to impose any sentence within and up to the
statutory maximum authorized by law for the offense identified in paragraph 1 and that the
Defendant may not withdraw the plea if his sentence is at or below the statutory maximum
sentence.

The Defendant is aware that the sentence has not yet been determined by the Court. The
Defendant also is aware that any estimate of the probable sentencing range or sentence that the
Defendant may receive, whether that estimate comes from the Defendant’s attorney, or the
Government, is a prediction, not a promise, and is not binding on the Government or the Court.
The Defendant understands further that any recommendation that the Government makes to the
Court as to sentencing, whether pursuant to this Agreement or otherwise, is not binding on the
Court and the Court may disregard the recommendation in its entirety. The Defendant
understands and acknowledges that the Defendant may not withdraw his plea based upon the
Court’s decision not to accept a sentencing recommendation made by the Defendant, the
Government, or a recommendation made jointly by both the Defendant and the Government.

The Defendant understands that the failure of the Court or the Probation Office to
determine the guideline range in accordance with the above calculations will not void this Plea
Agreement or serve as a basis for the withdrawal of the Defendant’s plea. The Defendant
understands and agrees that he will not be allowed to withdraw the guilty plea entered pursuant
to this Plea Agreement solely because of the harshness of any sentence recommended by the
Probation Office or imposed by the Court, and that a motion to withdraw the plea on that basis
may be treated by the United States as a breach of this Plea Agreement.

The Government reserves the right to dispute sentencing factors or facts material to
sentencing and to use any information or material, whether or not obtained from the Defendant
pursuant to this Agreement, to correct any factual errors asserted by the Defendant.

Should the Defendant commit any conduct after the date of this Agreement that would
form the basis for an increase in his base offense level or justify an upward departure (examples
of which include but are not limited to, obstruction of justice, failure to appear for a court
proceeding, criminal conduct while pending sentencing, and false statements to any law
enforcement agent, probation officer or Court) the Government is free under this Agreement to
seek an increase in the base offense level or an upward departure based on that post-agreement
conduct.

4, Removal, The Defendant recognizes that pleading guilty may have consequences
with respect to the Defendant’s immigration status if the Defendant is not a citizen of the United
States. Under federal law, a broad range of crimes are removable offenses, including the offense
to which the Defendant is pleading guilty. Because removal and other immigration
consequences are the subjects of a separate proceeding, the Defendant understands that no one,
including the Defendant’s attorney or the District Court, can predict to a certainty the effect of
the Defendant’s conviction on the Defendant’s immigration status. The Defendant nevertheless
affirms that the Defendant wants to plead guilty regardless of any immigration consequences that

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the Defendant’s plea may entail, even if the consequence is the Defendant’s automatic removal
from the United States.

Ds Criminal Forfeiture. The Defendant acknowledges that he received money and
property that is subject to forfeiture as a result of his violation of 21 U.S.C. § 959 as alleged in the
Indictment. The Defendant agrees to forfeit and give to the United States prior to the date of
sentencing any right, title and interest which the Defendant may have in any asset that constitutes
or is traceable to proceeds of his narcotics trafficking, or that was involved in, used in, or intended
for use in narcotics violations. These assets may be located within the jurisdiction of the United
States or elsewhere, and could include but are not limited to: cash assets, negotiable instruments,
securities, property, or other things of value, including any and all property which has been
transferred or sold to or deposited with any third party, known or unknown by the Defendant for a
period of less than 10 years prior to the date of the signing of this Agreement, as well as any asset,
interest, or proceeds the Defendant received or could receive or cause to be received by a third
party in the future, directly or indirectly, in whole or in part, from the Defendant's illegal activities. '

The Defendant agrees to take all steps as requested by the United States to pass clear title
to forfeitable assets to the United States, and to testify truthfully in any judicial forfeiture
proceeding. The Defendant acknowledges that all property covered by this Plea Agreement is
subject to forfeiture as proceeds of illegal conduct.

The Defendant agrees to consent to the entry of orders of forfeiture for such property and
waives the requirements of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice
of the forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. The Government also reserves the right to seek a
Forfeiture Money Judgment at the time of the Defendant’s sentencing.

The Defendant acknowledges that he understands that the forfeiture of assets is part of the
sentence that may be imposed in this case and waives any failure by the Court to advise him of
this, pursuant to Rule 11(b)(1)(J), at the time his guilty plea is accepted. The Defendant knowingly
and voluntarily waives his right to any required notice concerning the forfeiture of monies and
properties forfeited hereunder, including notice set forth in an indictment or information.

The Defendant further agrees to waive all constitutional and statutory challenges in any
manner (including direct appeal, habeas corpus, or any other means) to any forfeiture carried out
in accordance with this Plea Agreement on any grounds, including that the forfeiture constitutes
an excessive fine or punishment. In addition, the Defendant knowingly and voluntarily waives his
right, if any, to a jury trial on the forfeiture of said monies and properties, and waives all
constitutional, legal and equitable defenses to the forfeiture of said monies and properties,
including, but not limited to, any defenses based on principles of double jeopardy, the Ex Post
Facto clause of the Constitution, the statute of limitations, venue or any defense under the Eighth
Amendment, including a claim of excessive fines. The Defendant further agrees to waive all

 

' This includes, but is not limited to, property subject to forfeiture proceedings in Mexico or other foreign countries.

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interest in any such asset in any administrative or judicial forfeiture proceeding, whether criminal
or civil, state or federal.

The Defendant agrees that the forfeiture of any properties or the payment of the
Forfeiture Money Judgement are not to be considered a fine or a payment on any income taxes
that may be due.

The failure of the Defendant to forfeit any monies and/or properties as required under this
Agreement, including the failure of the Defendant to execute any document to accomplish same
on timely notice to do so, shall constitute a material breach of this Agreement. Upon such a
breach, the Defendant will not be entitled to withdraw the plea, but the Government may bring
additional criminal charges against the Defendant. The Government may also execute the
Forfeiture Money Judgment upon any other assets of the Defendant, up to the outstanding
balance, pursuant to 21 U.S.C. § 853(p), the Federal Debt Collection Procedure Act, or any other
applicable law.

6. Waiver of Constitutional and Statutory rights. The Defendant understands
that by pleading guilty in this case he agrees to waive certain rights afforded by the Constitution
of the United States and/or by statute, including the right to plead not guilty and the right to a
jury trial. At trial, the Defendant would have the right to be represented by counsel, to confront
and cross-examine witnesses against him, to compel witnesses to appear for the purpose of
testifying and presenting other evidence on the Defendant’s behalf, and to choose whether to
testify himself. If the Defendant chose not to testify at a jury trial, he would have the right to
have the jury instructed that his failure to testify could not be held against him. The Defendant
would further have the right to have the jury instructed that he is presumed innocent until proven
guilty, and that the burden would be on the United States to prove his guilt beyond a reasonable
doubt. If the Defendant were found guilty after a trial, he would have the right to appeal the
conviction. Additionally, the Defendant waives any right to have facts that determine his
sentence under the Guidelines alleged in the Indictment or found by a jury beyond a reasonable

doubt.

The Defendant understands that the Fifth Amendment to the Constitution of the United
States protects him from the use of self-incriminating statements in a criminal prosecution. By
entering this plea of guilty, the Defendant knowingly and voluntarily waives or gives up this
right against self-incrimination.

The Defendant agrees that with respect to the charge referred to in paragraph 1, he is not
a "prevailing party" within the meaning of the "Hyde Amendment," 18 U.S.C. § 3006A, and will
not file any claim under that law. The Defendant waives any right to additional disclosure from
the Government in connection with the guilty plea.

7. Appeal Waiver. The Defendant is aware that federal law, specifically Title 18,
United States Code, Section 3742, affords the Defendant the right to appeal his sentence. The
Defendant is aware that the Government’s factual stipulations and predictions about the
calculation of the sentencing guidelines are not binding on the sentencing judge. Knowing that,

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the Defendant waives any argument that the statute to which the defendant is pleading guilty is
unconstitutional; any argument that his admitted conduct does not fall within the scope of the
statute; and waives the right to appeal his sentence or the manner in which it was determined
pursuant to Title 18, United States Code, Section 3742, except to the extent that (a) the Court
sentences the Defendant to a period of imprisonment longer than the statutory maximum, or (b)
the Court departs upward from the applicable Sentencing Guideline range pursuant to the
provisions of Section 5K2.0 of the Sentencing Guidelines or based on a consideration of the
sentencing factors set forth in Title 18, United States Code, Section 3553(a).

Further, the Defendant reserves the right to make a collateral attack upon the Defendant’s
sentence pursuant to Title 28, United States Code, Section 2255, if new and currently unavailable
information becomes known to him.

8. Pre-Sentencing Detention. The Defendant further agrees not to object to the
Government’s recommendation to the Court at the time of the guilty plea in this case that,
pursuant to Title 18, United States Code, Section 3143, the Defendant be detained without bond
pending the Defendant’s sentencing in this case.

9. Reservation of Allocution. The Defendant understands that the United States
reserves its full right of allocution for purposes of sentencing in this matter. The United States
further reserves the right to describe fully, both orally and in writing, to the sentencing judge the
nature and seriousness of the Defendant’s misconduct, including any misconduct not described
in the charges to which the Defendant is pleading guilty. The United States also reserves the
right to inform the presentence report writer and the Court of any relevant facts, to dispute any
factual inaccuracies in the presentence report, and to contest any matters not provided for in this
Plea Agreement.

The Defendant also understands that the United States retains its full right of allocution in
connection with any post-sentence motion which may be filed in this matter and/or any
proceeding before the Bureau of Prisons. The United States reserves the right to appeal the
sentence in this case. The Government and the Defendant agree, in accordance with Section
1B1.8 of the Sentencing Guidelines, that the Government will be free to use against the
Defendant for any purpose at the sentencing in this case any self-incriminating information
provided by the Defendant pursuant to this Plea Agreement.

10. Notification to Court and Probation Office. The United States will inform the
Court and the U.S. Probation Office of all facts pertinent to the sentencing process, including all
relevant information and conduct concerning the offenses committed, whether charged or not, as
well as concerning the Defendant and the Defendant’s background. '

General Conditions

11. | Prosecution by Other Agencies/Jurisdictions. This Plea Agreement only binds
the Narcotic and Dangerous Drug Section, Criminal Division of the Department of Justice. It
does not bind any other United States Attorney’s Office or any other office or agency of the
United States Government, or any state or local prosecutor. These individuals and agencies

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remain free to prosecute the Defendant for any offense(s) committed within their respective
jurisdictions.

12. No Other Agreements. No other agreements, promises, understandings, or
representations have been made by the parties other than those contained in writing and filed
with the Court, nor will any such agreements, promises, understandings, or representations be
made unless committed to writing and signed by the Defendant, the Defendant’s counsel, and a
prosecutor in this case, or made by the parties on the record before the Court.

13. Voluntariness. The Defendant represents to the Court that no threats have been
made against him and that he is pleading guilty freely and voluntarily because he is in fact guilty,
and represents to the Court that he is fully satisfied with the legal advice, guidance and
representation he has received from his attorney.

ARTHUR G. WYATT

CHIEF, NARCOTIC & DANGEROUS DRUG SECTION
CRIMINAL DIVISION

U.S. DEPARTMENT OF JUSTICE

Date: 2 14 By: CL. AZZ

 

Cole Radovich
Trial Attorney
Approved by:
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Date: alt 1 By: Phiccheel te fragy
Michael Lang
Acting Deputy Chief
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DEFENDANT’S ACCEPTANCE

I have reviewed this Plea Agreement with the assistance of an English-Spanish
interpreter, and have discussed it at length with my attorney, Robert Feitel, Esq., who speaks
fluent Spanish. This Plea Agreement has been translated into Spanish for me. I understand that
the English version controls. I fully understand this Plea Agreement and agree to it without
reservation. I do this voluntarily and of my own free will, intending to be legally bound. No
threats have been made to me, nor am I under the influence of anything that could impede my
ability to understand this Plea Agreement fully. I am pleading guilty because I am in fact guilty
of the offenses identified in paragraph one (1).

I am satisfied with the legal services provided by my attorney in connection with this
Plea Agreement and matters related to it.

. a
Klasse Viwe 2\<\4
Mario Ramirez Trevino Date
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I am the Defendant’s attorney. I have fully explained to the Defendant, the Defendant’s
rights and the applicable provisions of the Sentencing Guidelines. I have carefully reviewed
every part of this Plea Agreement with the Defendant in Spanish. The Defendant is entering into
this Plea Agreement voluntarily, intelligently and with full knowledge of all consequences of the
Defendgnt’s plea of guilty.

 

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Robert Feitel Date
Attorney for Defendant

 
